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 S. Walters, Cyrrena Welch, Terry E. Welch, and Lundy P. Wilder (“Arbitration Creditors”)

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 In re:                                                     §        Chapter 11
                                                            §
 WILLIAMS FINANCIAL GROUP, INC., et al.,1                   §       Case No. 17-33578-HDH
                                                            §       Jointly Administered
          Debtors.                                          §       Objection Date: May 23, 2018

                    ARBITRATION CREDITORS’ MOTION FOR
                  TEMPORARY ALLOWANCE OF CLAIM UNDER
               FEDERAL RULE OF BANKRUPTCY PROCEDURE 3018(a)


          1
                 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: Williams Financial Group, Inc. (8972); WFG Management Services, Inc.
 (7450); WFG Investments, Inc. (7860), and WFG Advisors, LP (9863). The address for all the Debtors
 is 2711 N. Haskell Ave., Suite 2900, Dallas, TX 75204.
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          The Arbitration Creditors2 hereby move for temporary allowance of their claims in full

 under Federal Rule of Bankruptcy Procedure 3018(a), for the sole purpose of enabling them

 to vote on the Debtors’ plan of liquidation, and, as grounds, state as follows:

                                       I. BACKGROUND

          1.     Debtor WFG Investments, Inc. (“WFGI”), was a broker-dealer and a member

 of FINRA, Inc. (“FINRA”). The Arbitration Creditors previously filed arbitration claims with

 the FINRA Office of Dispute Resolution against Debtor WFGI.3 The Arbitration Creditors’

 FINRA arbitrations are presently stayed as a result of the bankruptcy filing by WFGI in this

 Court.

          2.     In their arbitration claims, the Arbitration Creditors alleged that WFGI violated

 federal and state securities laws, breached its fiduciary and contractual duties, and committed

 common law fraud and negligence. The Arbitration Creditors alleged that WFGI, acting

 through its Alabama registered representatives Mark L. Baggerly, Stephen A. Pierce, Damian

 M. Bell, and James A. Conwell, II, fraudulently and negligently, through omissions and

 misrepresentations, recommended that the Arbitration Creditors invest in Servergy, Inc.

 (“Servergy”). (ECF 241-245)

          3.     According to the Securities and Exchange Commission (“SEC”), however,

 Servergy falsely represented that Servergy had developed a new server, the CTS-1000, that




          2
                 The “Arbitration Creditors” are listed on the first page of this document.
          3
                 Copies of the arbitration Statements of Claim have filed with this Court. (ECF
 241-245)

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 consumed up to 80% less power and cooling than other servers, that the CTS-1000 was in high

 demand, and that Servergy had received 25 orders totaling over 1,500 units with planned

 delivery in late 2013. Servergy, however, had not received any orders for the CTS-1000. The

 CTS-1000 was based on outdated technology that was being phased out of the industry. The

 claim that the CTS-1000 consumed less power or produced less thermal output than other,

 comparable servers had no basis, because Servergy only tested the CTS-1000 against one other,

 non-comparable Dell server released nearly 4 years earlier. (ECF 241 pp. 140-206)

        4.     Although a jury cleared the Servergy founder of some of the SEC’s claims, the

 jury also found that he violated Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2).

 (ECF 288 Exh. C) According to the SEC:

        Jury Finds Technology Company Founder Liable for Misleading Investors
        About Energy-Efficient Computer Servers

               ....

        “We are gratified by the jury’s verdict finding William E. Mapp III liable for
        misleading Servergy investors about the company’s business prospects.
        Corporate officers owe shareholders nothing less than the full truth, and we
        vigorously pursue executives who mislead people.”

 (ECF 288 Exh. B)

        5.     Section 17(a)(2) provides that it “shall be unlawful for any person in the offer

 or sale of any securities . . . to obtain money or property by means of any untrue statement of

 a material fact or any omission to state a material fact necessary in order to make the

 statements made, in light of the circumstances under which they were made, not misleading.”

 Negligence is sufficient for a Section 17(a)(2) violation; proof of intent is not required. Aaron


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 v. Securities and Exchange Comm’n, 446 U.S. 680, 697 (1980). The Arbitration Creditors have

 alleged negligence and have alleged the same untrue statements and omissions that the SEC

 alleged and that the jury found. (See e.g., ECF 241 pp. 12-13, 47, 140-179) The jury verdict

 therefore strongly supports the Arbitration Creditors’ claims.

        6.     The Arbitration Creditors alleged not only misrepresentations and omissions but

 also improper recommendations and failure to investigate by a broker-dealer with fiduciary

 duties. In recommending the Servergy security without having adequately investigated it,

 WFGI violated one of its fundamental duties. WFGI was also a fiduciary to the Arbitration

 Creditors. Accordingly, the Arbitration Creditors have an even greater basis to hold WFGI

 liable than the SEC had for the Servergy founder, because WFGI was a broker-dealer with

 fiduciary duties to the Arbitration Creditors.

        7.     The Arbitration Creditors have previously filed a Renewed Motion for Relief

 from the Automatic Stay (ECF 420) and Renewed Motion to Compel Arbitration (ECF 421).

 This Court conditionally granted these motions effective July 2, 2018, unless WFGI has

 confirmed a plan with an alternative claims resolution process which binds the Arbitration

 Creditors. (ECF 473, 474)

        8.     Today, May 2, 2018, the Court entered an order approving the Debtors’ Second

 Amended Disclosure Statement. (ECF 477) The order established the following dates and

 deadlines:

               a.     May 31, 2018 – Deadline to file motions for temporary allowance
                      of claims for voting purposes under Bankruptcy Rule 3018(a).
                      Movants under Rule 3018 are responsible for scheduling a


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                       hearing on the motion at or prior to the date of the hearing to
                       consider confirming the Debtors’ plan of liquidation.

                b.     June 7, 2018 – Deadline for voting on and objecting to the
                       Debtors’ plan of liquidation.

                c.     June 14, 2018 – Date of hearing to consider confirming the
                       Debtors’ plan of liquidation.

        9.      The Arbitration Creditors have filed proofs of claim against WFGI in this court

 in Case No. 17-33580-hdh11. On April 16, 2018, WFGI filed objections to these claims. (Case

 No. 17-33580, ECF 18 to 69) Pursuant to this Court’s order (ECF 477), unless this Court grants

 this Motion or the Arbitration Creditors reach a stipulation with the Debtors, the Arbitration

 Creditors will not be able to vote on the plan of liquidation. “A creditor whose claim is

 objected to ‘is therefore disenfranchised from voting on the plan unless the objection is

 adjudicated prior to plan voting, or a mechanism, such as temporary allowance, is provided

 for.’” In re Romacorp, Inc., 2006 WL 6544089, at *3 (Bankr. N.D. Tex. Feb. 24, 2006) (citation

 omitted).

        10.     As reflected in their other filings in this Court, the Arbitration Creditors

 continue to believe that they are entitled to arbitrate with WFGI under the Federal Arbitration

 Act, 9 U.S.C. §§ 1-16 (“FAA”). This Motion for temporary allowance of the Arbitration

 Creditors’ claims is filed solely for voting purposes to protect the Arbitration Creditors’ rights

 in this bankruptcy matter and to enable them to vote on the plan of liquidation. Granting this

 Motion would not have any res judicata or collateral effects in later litigation or arbitration

 regarding the final resolution of the Arbitration Creditors’ claims, and the Arbitration

 Creditors do not waive their contention that WFGI must arbitrate with them under the FAA.

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                                         ARGUMENT

        11.    Bankruptcy Rule 3018(a) provides in part as follows: “Notwithstanding objection

 to a claim or interest, the court after notice and hearing may temporarily allow the claim or

 interest in an amount which the court deems proper for the purpose of accepting or rejecting

 a plan.” The “‘policy behind temporarily allowing claims is to prevent possible abuse by plan

 proponents who might ensure acceptance of a plan by filing last minute objections to the claims

 of dissenting creditors.’” In re Mangia Pizza Investments, LP, 480 B.R. 669, 679 (Bankr. W.D.

 Tex. 2012) (citation omitted).

        12.    Courts have “disagree[d] about which party has the burden of proof in a Rule

 3018 proceeding.” In re Pacific Sunwear, Inc., 2016 WL 4250681, at *5 (Bankr. D. Del. Aug.

 8, 2016). Even assuming arguendo that the burden is on the moving party, the burden would

 merely “be on the claimant to present sufficient evidence that it has a colorable claim capable

 of temporary evaluation.” Armstrong v. Rushton (In re Armstrong), 294 B.R. 344, 354 (B.A.P.

 10th Cir. 2003), aff'd, 97 F. App’x 285 (10th Cir. 2004).

        13.    This Court can readily determine that the Arbitration Creditors have at least

 colorable claims capable of temporary evaluation. The SEC alleged, and a jury found, that the

 Servergy founder made material misrepresentations and omissions that violated the federal

 securities laws. The Arbitration Creditors have alleged the same misrepresentations and

 omissions. WFGI failed properly to investigate these misrepresentations and omissions relating

 to Servergy before recommending the Servergy investment to the Arbitration Creditors, and

 WFGI is liable to them as a result. These claims are at least colorable.


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        14.    Courts have also considered several factors in determining whether to allow a

 claim temporarily for voting purposes. Factors pertinent to this case include:

        •      “[T]he expectations of the parties regarding treatment of the claim as
               evidenced in their proposed plans”; . . .

        •      “[T]he effective power which the holder of the disputed claim may have
               to scuttle the reorganization proceeding”; . . .

        •      “[W]hen fully hearing the objection would delay administration of the
               case”; . . . and

        •      “[W]hether the objection was filed late or ‘at the last minute’” . . . .

 Mangia Pizza Investments, 480 B.R. at 679-80 (citations omitted).

        15.    Here, with regard to the first of these factors, the Debtors clearly expect that

 claims can be temporarily allowed for purposes of voting and that full determination of the

 claims would then be made later. This Court’s order today that approved the disclosure

 statement was drafted by the Debtors, and it expressly provides that creditors can seek to have

 their claims temporarily allowed under Rule 3018 for voting purposes. (ECF 477 pg. 3) The

 procedure in the Debtors’ proposed plan for determining for distribution purposes whether

 a disputed securities-related claim will be allowed and the amount of the claim only takes place

 later, after confirmation of the plan. (ECF 476 pp. 23-26)

        16.    With regard to the second of these pertinent factors, no individual Arbitration

 Creditor has the power to scuttle the liquidation proceeding in this case.

        17.      With regard to the third and fourth of these pertinent factors, the Debtors’

 objections to the Arbitration Creditors’ claims were filed only slightly more than two weeks

 ago, and this Court today ordered that the confirmation hearing would take place in six weeks.

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 The Debtors’ plan has no provision before confirmation for determining whether the

 Arbitration Creditors’ claims will be allowed for distribution purposes. It instead delays that

 process until after confirmation of the plan.

        18.    Moreover, the Debtors have already on three occasions blocked the Arbitration

 Creditors from obtaining an immediate and full resolution of their claims against WFGI. The

 first time occurred when WFGI filed its bankruptcy petition in this Court, thereby staying the

 Arbitration Creditors’ arbitrations against WFGI. The second and third times occurred when

 the Debtors twice opposed (ECF 279, 435, 436) the Arbitration Creditors’ motions to lift the

 stay and compel arbitration. But for these actions by the Debtors, many or all of the

 Arbitration Creditors’ claims would already have been resolved.

        19.    Finally, a fifth factor supporting temporary allowance of the Arbitration

 Creditors’ claims is their right to arbitrate under the Federal Arbitration Act. This Court has

 now conditionally ruled that the Arbitration Creditors have this right to arbitrate. (ECF 474)

 As stated by the court in Santangelo Law Offices, P.C. v. Touchstone Home Health LLC (In

 re Touchstone Home Health LLC), 572 B.R. 255, 277-78 (Bankr. D. Colo. 2017), when it lifted

 a bankruptcy stay to permit liquidation of a bankruptcy claim through arbitration:

               [T]he reason [for permitting liquidation of proofs of claim through
        arbitration] . . . is even stronger than the rationale supporting deference to
        pending federal and state litigation. That is because, as in this case, the parties
        contractually agreed to arbitration prior to bankruptcy. And, federal law
        strongly favors arbitration. . . .The U.S. Supreme Court has confirmed on
        multiple occasions that arbitration is generally a prompt, efficient, and fair
        mechanism for dispute resolution. Thus, claims liquidation arbitration supports
        the objectives of the bankruptcy system rather than conflicting with them
        because it provides a mechanism for quick, economical, and fair dispute
        resolution.

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                The lack of inherent conflict between arbitration and the Bankruptcy
        Code is demonstrated by many bankruptcy decisions approving liquidation of
        claims through arbitration. At the appellate level, [the Fifth Circuit in Ins. Co.
        of N. Am. v. NCG Settlement Tr. & Asbestos Claims Mgmt. Co. (In re Nat'l
        Gypsum Co.), 118 F.3d 1056 (5th Cir. 1997)] uses claims liquidation arbitration
        as the archetypical example of a proceeding which does not inherently conflict
        with the Bankruptcy Code.

                In the most common type of creditor-initiated core proceeding–a motion
                for relief from the automatic stay–bankruptcy courts regularly have
                permitted arbitration to continue (or commence) in spite of the presence
                of core bankruptcy jurisdiction. In those cases permitting arbitration,
                courts have typically found little difficulty with arbitration of disputes
                where resolution would not involve matters of federal bankruptcy law.

        Nat’l Gypsum, 118 F.3d at 1068 (citing a series of decisions allowing relief from
        stay for arbitration to liquidate claims).

        20.     Given the strong federal policy favoring arbitration, the Debtors cannot

 reasonably preclude the Arbitration Creditors from being able to vote on a plan that, if

 confirmed, could prevent them from exercising their right to arbitrate under the Federal

 Arbitration Act.

        WHEREFORE, the Arbitration Creditors respectfully request the Court to enter an

 order temporarily allowing their claim in full for purposes of voting on the Debtors’ plan of

 liquidation.




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 Dated: May 2, 2018                         Respectfully submitted,

                                            GOODMAN & NEKVASIL, P.A.

                                            /s/ Stephen Krosschell
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                                            Counsel for the Arbitration Creditors

                            CERTIFICATE OF CONFERENCE

       The undersigned counsel certifies that, on May 2, 2018, he consulted with Scott
 Lawrence, counsel for the Debtors, who stated that the Debtors opposed this Motion.

                                            /s/ Stephen Krosschell
                                            Stephen Krosschell

                               CERTIFICATE OF SERVICE

        The undersigned counsel certifies that, on May 2, 2018, he caused copies of the
 foregoing document to be served on all parties receiving electronic notice through the Court’s
 CM/ECF System.

                                            /s/ Stephen Krosschell
                                            Stephen Krosschell




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